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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

In Re:
Case No. 8:10-bk-01013-CED

MICHAEL S. LONGENECKER,
Debtor. i

MICHAEL S. LONGENECKER’S PLAN OF REORGANIZATION
DATED JUNE 718, 2010

This Plan of Reorganization (the “Plan") under chapter 11 of the Bankruptcy
code (the “Code”) proposes to pay creditors of Michael S. Longenecker (the “Debtor’)
from future income/wages.

This Plan provides for 30 classes of secured claims; 1 class of unsecured
claims; and 0 classes of equity security holders. Unsecured creditors holding allowed
claims will receive distributions, which the proponent of this Plan has valued at
approximately 100 cents on the dollar. The Plan also provides for the payment of
administrative and priority claims (to the extent permitted by the Code or the claimant's
agreement), administrative claim for attorney's fees and costs, in monthly payments
pursuant to the agreement with counsel for Debtor.

All creditors and equity security holders should refer to Articles [Il through VI of
this Plan for information regarding the precise treatment of their claim. A disclosure
statement that provides more detailed information regarding this Plan and the rights of
the creditors and equity security holders has been circulated with this Plan. Your
rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one. (If you do not have an attorney, you may wish
to consult one.)

ARTICLE I
CLASSIFICATION OF CLAIMS AND INTERESTS

All allowed claims entitled to priority under §507 of the Code
(except administrative expense claims under §507(a)(2).

2.01 Class 1 The claim of Aurora Loan Services, LLC, to the extent
allowed as a secured claim under §506 of the Code.

2.02 Class 2. The claim of Regions Bank, to the extent allowed as a
secured claim under §506 of the Code.

2.03 Class 3. The claim of Bank of America, to the extent allowed as a
secured claim under §506 of the Code.
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Class 4.

Class 5.

Class 6.

Class 7.

Class &.

Class 9.

Class 10.

Class 11.

Class 12.

Class 13.

Class 14.

Class 15.

Class 16.

Class 17.

Class 18.

Class 19.

The claim of CitiMortgage, Inc., to the extent allowed as a
secured ciaim under §506 of the Code.

The claim of Cypress Trace Gardens Association, to the

extent allowed as a secured claim under §506 of the Code.

The claim of First State Bank, to the extent allowed as a
secured claim under §506 of the Code.

The claim of First State Bank, to the extent allowed as a
secured claim under §506 of the Code.

The claim of First State Bank, to the extent allowed as a
secured claim under §506 of the Code.

The claim of SunTrust Mortgage, Inc., to the extent allowed
as a secured ciaim under §506 of the Code.

The claim of SunTrust Mortgage, Inc., to the extent allowed
as a secured claim under §506 of the Code.

The claim of SunTrust Mortgage, Inc., to the extent allowed
as a secured claim under §506 of the Code.

The claim of Wachula State Bank, to the extent allowed as a
secured claim under §506 of the Code.

The claim of Wachula State Bank, to the extent allowed as a
secured claim under §506 of the Code.

The claim of Ford Credit, to the extent allowed as a secured
claim under §506 of the Code.

The claim of Mercedes - Benz Financial, to the extent
allowed as a secured claim under §506 of the Code.

The ciaim of Regions Bank, to the extent allowed as a
secured claim under §506 of the Code.

The claim of Suncoast Schools Federai Credit Union, to the
extent allowed as a secured claim under §506 of the Code.

The claim of Suncoast Schools Federal Credit Union, to the
extent allowed as a secured claim under §506 of the Code.

The claim of Suncoast Schools Federal Credit Union, to the
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extent allowed as a secured claim under §506 of the Code.

2.20 Class 20. The claim of SunTrust Bank, to the extent allowed as a
secured claim under §506 of the Code.

2.21 Class 21. The claim of Deere Credit Service, to the extent allowed as a
secured claim under §506 of the Code.

2.22 Class 22. All unsecured claims allowed under § 502 of the Code.

ARTICLE Ill
TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
U.S. TRUSTEES FEES, AND PROPERTY TAX CLAIMS

3.01 Unclassified Claims. Under § 1123(a)(1), administrative expense claims,
and priority tax claims are not in classes.

3.02 Administrative Expense Claims. Each holder of an administrative
expense claim allowed under §503 of the Code will be paid in full on the effective date
of this Plan (as defined in Article VII), in cash, or upon such other terms as may be
agreed upon by the holder of the claim and the Debtor.

3,03 Priority Tax Claims. Each holder of a priority tax claim will be paid its claim
in equal monthly payments until paid in full, no later than October 2013.

3.04 United States Trustee Fees. All fees required to be paid by 28 U.S.C.
§1930(a)(6) (U.S. Trustee Fees) will accrue and be timely paid until the case is closed,
dismissed, or converted to another chapter of the Code. Any U.S. Trustee Fees owed
on or before the effective date of this Plan will be paid on the effective date.

ARTICLE IV
TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

4.01 Claims and interests shall be treated as follows under this Plan:

 

Class impairment Treatment

 

Priority Claim - The Debtors have no
eniority creditors.

 

Glass 1 - Secured Claim of Aurora Loan | impaired The Debtor is one (1} month delinquent
Services, LLC to this creditor pre-petition. The Debtor
shall pay the delinquent payment of
$1,699.42 in 60 equal monthly
payments of $28.33. This payment
together with the normal contractual
payment shall cure the delinquency and
reinstate the mortgage. This creditor
shall retain its lien.

 

 

 

 

 
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Class 2 - Secured Claim of Regions
Bank

impaired

This creditor holds a second mortgage
an the Debtors homestead, which the
Debtor believes is wholly unsecured.
This creditor shall be paid as a general
unsecured claim in Class 22.

 

Ciass 3 - Secured Claim of Bank of
America

 

impaired

The Debtor shail pay the value of the
collateral, in the amount of $27,560.00
amortized at 6% interest over 30 years.
The monthly payments shall be in the
amount of $164.88. The balance of the
claim of this creditor, if any, shall be
paid in accordance with the treatment of
the unsecured creditors. This creditor
shall retain it’s lien, to the extent of the
value of the property.

 

Class 4 - Secured Claim of
CitiMortgage, Inc.

impaired

The Debtor shall pay the value of the
collateral, in the amount of $105,000.00
amortized at 6% interest over 30 years.
The monthly payments shall be in the
amount of $629.53. The balance of the
claim of this creditor, if any, shall be
paid jn accordance with the treatment of
the unsecured creditors. This creditor
shalt retain it’s lien, to the extent of the
value of the property.

 

Class 5 - Secured Claim of Cypress
Trace Gardens

impaired

The Debtor shall pay this creditor its
claim, together with applicable interest
in 60 equal monthly payments.

 

Class 6 - Secured Claim of First State
Bank

unimpaired

The Debtor is current on his payments
to this creditor and shall continue to
make the normal contractual payment.

 

Class 7 - Secured Claim of First State
Bank

impaired

This creditor holds a second mortgage
on the commercial property, which the
Debtor believes to be partially
unsecured. The Debtor shall file a
motion to determine secured status and
vaiue the collateral in the amount of
$79,000.00. The Debtor shall pay this
creditor the secured portion of its claim
($46,515.76) amortized at 6% interest
aver 30 years. The Debtor shall pay
this creditor 60 monthly payments of
$278.89. The 67" payment shall be a
balloon payment of the balance owed in
the amount of $29,782.36

 

 

Class 8 - Secured Claim of First State
Bank

 

impaired

 

The Debtor shall pay7 the value of the
collateral, in the amount of $18,500.00
amortized at 6% interest over 30 years.
The monthly payments shall be in the
amount of $110.92. The balance of the
claim of this creditor, if any, shall be
paid in accordance with the treatment of
the unsecured creditors. This creditor
shall retain its lien, to the extent of the
value of the collateral.

 

 
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Class 9 - Secured Claim of SunTrust
Mortgage, Inc.

impaired

The Debtar shall pay the value of the
collateral, in the amount of $15,800.00
amortized at 6% interest over 30 years.
The payments shall be in the amount of
$94.73. The balance of the claim of this
creditor, if any, sinall be paid in
accordance with the treatment of the
unsecured creditors. This creditor shall
retain its lien, to the extent of the value
of the property.

 

Class 10 ~ Secured Claim of SunTrust
Mortgage, Inc.

impaired

The Debtor shall pay the value of the
collateral, in the amount of $57,080.00
amortized at 6% interest over 30 years.
The monthly payments shail be in the
amount of $341.74. The balance of the
claim of this crediter, if any, shall be
paid in accordance with the treatment of
the unsecured creditors, This creditor
shall retain it's lien, to the extent of the
value of the property.

 

Class 11 - Secured Claim of SunTrust
Mortgage, Inc.

impaired

The Debtor shall pay the value of the
collateral, in the amount of $19,700.00
amortized at 6% interest over 30 years.
The monthiy payments shall be in the
amount of $118.11. The halance of the
claim of this creditor, if any, shall be
paid In accordance with the treatment of
the unsecured creditors. This creditor
shail retain it’s lien, to the extent of the’
value of the property

 

Class 12 Secured Claim of
Wachula State Bank,

unimpaired

The Debtor is current on the payment to
this creditor and shall continue to make
the normal contractual payment. This
creditor shall retain it's tien,

 

Class 13 - Secured Claim of Wachula
State Bank

impaired

No proof of claim has been filed by
creditor within the time provided by the
Court. The Debtor, therefore
surrenders the property in full
satisfaction of the debt. This creditor
shall retain it's lien, to the extent of the
value of the property.

 

Class 14 - Secured Claim of Ford Credit

impaired

The Debtor shall pay the value of the
collateral, in the amount of $6,500.00
amortized at 6% interest over 5 years.
The monthly payments shall be in the
amount of $125.66. The balance of the
claim of this creditor, if any, shall be
paid in accordance with the treatment of
the unsecured creditors. This creditor
shall retain it's lien, te the extent of the
value of the property.

 

 

Class 15 - Secured Claim of Mercedes -
Benz Financial

 

impaired

 

The Debtor shall pay the value of the
collateral, in the amount of $18,000.00
amortized at 6% interest over 5 years.
The monthly payments shall be in the
amount of $347.99. The balance of the
claim of this creditor, if any, shall be
paid in accordance with the treatment of
the unsecured creditors. This creditar
shail retain it’s lien, to the extent of the
value of the property.

 

 
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Class 16 - Secured Claim of Regions
Bank

impaired

The Debtor is current on the payment to
this creditor and shall continue to make
the normal contractual payment. This
creditor shall retain it's lien.

 

Class 17 - Secured Claim of Suncoast
Schools Federal Credit Union

impaired

The Debtor shall pay the value of the
collateral, in the amount of $15,000.00
amortized at 4.98% interest over 5
years. The monthly payments shall be
in the amount of $282.93. The balance
of the claim of this creditor, if any, shall
be paid in accordance with the
treatment of the unsecured creditors.
This creditor shall retain it’s lien, to the
extent of the value of the property.

 

Class 18 - Secured Claim of Suncoast
Schoals Federal Credit Union

impaired

The Debtor shail pay the value of the
collateral, in the amount of $7,000.00
amortized at 4.98% interest over 5
years. The monthly payments shall be
in the amount of $432.03. The balance
of the claim of this creditor, if any, shall
be paid in accordance with the
treatment of the unsecured creditars.
This creditor shall retain it's lien, to the
extent of the value of the property.

 

Class 19 - Secured Claim of Suncoast
Schools Federal Credit Union

impaired

The Debtor shall pay the value of the
collateral, in the amount of $18,000.00
amortized at 4.98% interest over 5
years, The monthly payments shall be
in the amount of $339.52. The balance
of the claim of this creditor, if any, shall
be paid in accordance with the
treatment of the unsecured creditors,
This creditor shall retain it's lien, to ihe
extent of the value of the property.

 

Class 20 - Secured Claim of SunTrust
Mortgage, Inc.

impaired

The Debtor is current on the payment to
this creditor and shall continue to make
the normal contractual payment. This
creditor shalt retain it's lien.

 

 

Class 21 - Secured Claim of Deere
Credit Services

 

impaired

 

The Debtor shall pay the value of the
collateral, in the amount of $1,200.00
amortized at 6% interest over 5 years.
The monihly payments shall be in the
amount of $23.20. The balance of the
claim of this creditor, if any, shall be
paid in accordance with the treatment of |
the unsecured creditors, This creditor
shall retain it’s lien, to the extent of the
value of the property. Any secured
creditor who has filed a secured
claim and claims an entitlement to an
unsecured claim must file an
amended claim seeking entitlement
to an unsecured claim by 30 days
after the confirmation hearing
(including any continued dates)

 

 
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Class 22 - General Unsecured Claims

 

 

impaired

 

The Debtors shall pay $1,000.00 per
month into a fund for distribution to the
unsecured creditors. Each allowed
unsecured creditor shall receive a pro-
tata share of said fund. Currently, the
claims register shows $306,632.68.
This would allow for a distribution of
approximately 14% to each creditor,
provided ne additional claims are
determined to be unsecured claims.
Any secured creditor who has filed a
secured claim and claims an
entittement to an unsecured claim
must file an amended claim seeking
entitlement to an unsecured claim by
30 days after the confirmation
hearing {including any continued
dates). Debtors shall have 30 days to
file an objection, if appropriate. if any
claims have not been determined by the
date first set for the disbursement to
unsecured creditors, an appropriate
amount shail be withheld from
distribution pending a determination of
disputed unsecured claims.

 

ARTICLE V

ALLOWANCE AND DISALLOWANCE OF CLAIMS

5.01 Disputed Claim.

such claim as disputed, contingent or unliquidated.

A disputed claim is a claim that has not been allowed
or disallowed [by a final non-appealable order], and as to which either: (I) a proof of
claim has been filed or deemed filed, and the Debtor or another party in interest has
filed an objection; or (ii) no proof of claim has been filed, and the Debtor has scheduled

5.02 Delay of Distribution on a Disputed Claim. No distribution will be made on
account of a disputed claim unless such claim is allowed [by a final non-appealable

order].

5.03 Settlement of Disputed Claims. The Debtor will have the power and
authority to settle and compromise a disputed claim with court approval and compliance
with Rule 9019 of the Federal Rules of Bankruptcy Procedure.

ARTICLE VI

PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

6.01 Assumed Executory Contracts and Unexpired Leases.

(a) | The Debtor assumes the following executory contracts and/or
unexpired leases effective upon the date of the entry of the order confirming this Plan.

Gail Thornhill, 1150 SE Milts Avenue, Arcadia, Florida - Lease expires

 
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september 25, 2010;

Veronica Salazar and Ashley Mendoza, 816 West Waldron, Arcadia, Florida -
month to month;

Jessica Taylor, 712 N. Mills, Arcadia, Florida - Lease expires July 2, 2010:
Carolyn Williams, 303 Bridal Path, Arcadia, Florida - month to month;

(b) The Debtor will be conclusively deemed to have rejected all
executory contracts and/or unexpired leases not expressly assumed under section
6.01(a) above, on or before the date of the order confirming this Plan.

ARTICLE VII
MEANS FOR IMPLEMENTATION OF THE PLAN

The Debtor shall make the plan payments based upon his wages and earnings
from his employment.
ARTICLE Vili
GENERAL PROVISIONS

8.01 Definitions and Rules of Construction. The definitions and rules of
construction set for in §§ 101 and 102 of the Code shall apply when terms defined or
construed in the Code are used in this Plan, and they are supplemented by the
following definitions.

8.02 Effective Date of Plan. The effective date of this Plan is the thirtieth
business day following the date of the entry of the order of confirmation. But if a stay of
the confirmation order is in effect on that date, the effective date will be the first
business day after that date on which no stay of the confirmation order is in effect,
provided that the confirmation order has not been vacated.

8.03 Severability. If any provision in this Plan is determined to be
unenforceable, the determination will in no way limit or affect the enforceability and
operative effect of any other provision of this Plan.
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8.04 Binding Effect. The rights and obligations of any entity named or referred
to in this Plan will be binding upon, and will inure to the benejit of the successors or

assigns of such entity.

8.05 Captions. The headings contained in this Plan are for convenience of
reference only and do not affect the meaning or interpretation of this Plan.

8,06 Controlling Effect. Unless a rule of law or procedure is supplied by
federal law (including the Code or the Federal Rules of Bankruptcy Procedure), the
laws of the State of Florida govern this Plan and any agreements, documents, and
instruments executed in connection with this Plan, except as otherwise provided in this

Pian.

ARTICLE IX
DISCHARGE

9.01 Discharge. Upon Confirmation and substantial compliance of the plan,
including issuance of promissory notes reflecting the balance, the Debtors will seek a
discharge or an administrative closing of the case. Confirmation of the Plan does not
discharge any debt provided for in fhe Plan until the court grants a discharge, or as
otherwise provided in Subsection 1141 (d) (5) of the Code. Debtor will not be
discharged from any debt excepted from discharge under Subsection 523 of the Code,
except as provided in Rule 4007 (c) of the Federal Rules of Bankruptcy Procedure.

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Sheila D. ‘Norman, Egy uire
NORMAN AND ULLINGTON, P.A.
1905 W. Kennedy Boulevard
Tampa, Florida 33606

(813) 251-6666

Florida Bar #849642
